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     Plaintiffs’ Interim Lead Counsel
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                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                          SAN JOSE DIVISION
17

18   In re Adobe Systems Inc. Privacy Litigation      Lead Case No.: 5:13-CV-05226-LHK
19                                                    STIPULATION OF VOLUNTARY
                                                      DISMISSAL
20

21                                                    The Honorable Lucy H. Koh

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     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO.: 5:13-CV-05226-LHK
 1                  Plaintiffs Christina Moseid, Joseph Kar, Anne McGlynn, Christian Duke, Jacob

 2   McHenry, and Marcel Page (“Named Plaintiffs”) and Defendant Adobe Systems Incorporated

 3   (“Adobe” or “Defendant”) (collectively, “Parties”) hereby stipulate as follows:

 4          WHEREAS, the Parties have agreed to privately settle their dispute pursuant to the terms of

 5   a Settlement Agreement, see Settlement Agreement, ECF No. 87-2;

 6          WHEREAS, the Settlement Agreement is conditioned on, among other things, (1) Plaintiffs’

 7   filing a motion for an Order Granting Approval of the Voluntary Dismissal of Putative Class Claims

 8   and the Court granting the motion, and (2) the Parties executing and filing a Stipulation of

 9   Dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), see id. Part III.;

10          WHEREAS, on June 9, 2015, Plaintiffs filed a Motion for Approval of Voluntary Dismissal

11   of Putative Class Claims Pursuant to Settlement, see ECF No. 87;

12          WHEREAS, on August 13, 2015, the Court granted Plaintiffs’ Motion for Approval of

13   Voluntary Dismissal of Putative Class Claims Pursuant to Settlement, see ECF No.105;

14          NOW, THEREFORE, IT IS HEREBY STIPULATED, that pursuant to Federal Rule of

15   Civil Procedure 41(a)(1)(A)(ii), the Named Plaintiffs’ claims are voluntarily dismissed with

16   prejudice, pursuant to the terms of the Settlement Agreement.

17          The Clerk shall close the following case files:
                   13-CV-05226-LHK;
18
                   13-CV-05596-LHK;
19                 13-CV-05611-LHK;
20                 13-CV-05930-LHK;
                   14-CV-00014-LHK;
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                   14-CV-00030-LHK; and
22                 14-CV-00157-LHK.
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     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO.: 5:13-CV-05226-LHK
     Dated: August 14, 2015           GIRARD GIBBS LLP
 1

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 3
                                      By: /s/ Eric H. Gibbs
 4                                        Eric H. Gibbs (SBN 178658)
                                          David M. Berger (SBN 277526)
 5                                        Interim Lead Class Counsel

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     Dated: August 14, 2015           ARNOLD & PORTER LLP
 7

 8

 9                                    By: /s/ Kenneth L. Chernof
                                          Kenneth L. Chernof (SBN 156187)
10                                        Ronald D. Lee (SBN 156025)
                                          Allyson Himelfarb (pro hac vice)
11                                        Attorneys for Defendant
                                          Adobe Systems Incorporated
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     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO.: 5:13-CV-05226-LHK
